 8:09-cr-00382-JFB-SMB        Doc # 87    Filed: 01/22/10    Page 1 of 2 - Page ID # 133




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )
                                             )               8:09CR382
                     Plaintiff,              )
                                             )
       vs.                                   )                 ORDER
                                             )
FELIX ALARCON,                               )
                                             )
                     Defendant.              )



       This matter is before the court on the motion for an extension of time by defendant

Felix Alarcon (Alarcon) (Filing No. 86). Alarcon seeks until February 8, 2010, in which to

file pretrial motions in accordance with the progression order. Alarcon's counsel represents

that Alarcon will file an affidavit wherein he consents to the motion and acknowledges he

understands the additional time may be excludable time for the purposes of the Speedy

Trial Act. Upon consideration, the motion will be granted



       IT IS ORDERED:

       Defendant Alarcon's motion for an extension of time (Filing No. 86) is granted.

Alarcon is given until on or before February 8, 2010, in which to file pretrial motions

pursuant to the progression order. The ends of justice have been served by granting such

motion and outweigh the interests of the public and the defendant in a speedy trial. The

additional time arising as a result of the granting of the motion, i.e., the time between

January 22, 2010, and February 8, 2010, shall be deemed excludable time in any

computation of time under the requirement of the Speedy Trial Act for the reason

defendant's counsel requires additional time to adequately prepare the case, taking into

consideration due diligence of counsel, and the novelty and complexity of this case. The
 8:09-cr-00382-JFB-SMB      Doc # 87   Filed: 01/22/10   Page 2 of 2 - Page ID # 134




failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §

3161(h)(8)(A) & (B).

      DATED this 22nd day of January, 2010.

                                               BY THE COURT:
                                               s/Thomas D. Thalken
                                               United States Magistrate Judge




                                         -2-
